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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

  IN RE: VALSARTAN, LOSARTAN,                   MDL No. 2875
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION                          Honorable Renée Marie Bumb
                                                District Court Judge
  THIS DOCUMENT RELATES TO:
  Gaston Roberts et al. v. Zhejiang
  Huahai Pharmaceutical Co., et al.,

  Case No. 1:20-cv-00946-RBK-JS

   DECLARATION OF NINA ROSE IN SUPPORT OF DEFENDANTS’ MOTION
        TO EXCLUDE THE OPINIONS OF DR. FAREEHA SIDDIQUI
        I, Nina Rose, declare as follows:

        I am an attorney and a partner with the law firm Kirkland & Ellis LLP,

  counsel for Defendants Zhejiang Huahai Pharmaceutical Co., Ltd., Solco

  Healthcare U.S., LLC, and Prinston Pharmaceutical Inc. (“Defendants”) in the

  above-captioned matter. The facts stated in this Declaration are true of my own

  personal knowledge. I submit this Declaration in Support of Defendants’

  Memorandum of Law in Support of Motion to Exclude the Opinions of Dr.

  Fareeha Siddiqui.

  1.    Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report

        of Fareeha Siddiqui, M.D., dated Mar. 10, 2025.

  2.    Attached hereto as Exhibit 2 is a true and correct copy of Kazuo Tarao et

        al., Real impact of liver cirrhosis on the development of hepatocellular


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       carcinoma in various liver diseases—meta‐analytic assessment, 8 Cancer

       Med. 1054 (2019).

  3.   Attached hereto as Exhibit 3 is a true and correct copy of Rongtao Lai et al.,

       Incidence rates of hepatocellular carcinoma based on risk stratification in

       steatotic liver disease for precision medicine: A real-world longitudinal

       nationwide study, PLoS Med. (2024).

  4.   Attached hereto as Exhibit 4 is a true and correct copy of Deposition

       Transcript of Mark Lockhart, M.D., dated Feb. 13, 2025.

  5.   Attached hereto as Exhibit 5 is a true and correct copy of medical record

       bates stamped GRobertsJr-UABHIM-MD-000082 through GRobertsJr-

       UABHIM-MD-000090.

  6.   Attached hereto as Exhibit 6 is a true and correct copy of medical record

       bates stamped GRobertsJr-CA-000656 through GRobertsJr-CA-000663.

  7.   Attached hereto as Exhibit 7 is a true and correct copy of Deposition

       Transcript of Fareeha Siddiqui, dated Apr. 29, 2025.

  8.   Attached hereto as Exhibit 8 is a true and correct copy of Mary E. Rinella et

       al., A multisociety Delphi consensus statement on new fatty liver disease

       nomenclature, 79 J. of Hepatology 1542 (2023).

  9.   Attached hereto as Exhibit 9 is a true and correct copy of the Expert Report

       of Nadim Mahmud, M.D., M.S., M.P.H., M.S.C.E.



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  10.   Attached hereto as Exhibit 10 is a true and correct copy of Jonathan G. Stine

        et al., Systematic review with meta-analysis: risk of hepatocellular

        carcinoma in non-alcoholic steatohepatitis without cirrhosis compared to

        other liver diseases, 48 Ailment Pharmacol Ther. 696 (2018).

  11.   Attached hereto as Exhibit 11 is a true and correct copy of Fahim Ebrahimi,

        et al., Familial coaggregation of MASLD with hepatocellular carcinoma and

        adverse liver outcomes: Nationwide multigenerational cohort study, 79 J. of

        Hepatology 1374 (2023).

  12.   Attached hereto as Exhibit 12 is a true and correct copy of medical record

        bates stamped GRobertsJr-CA-000729 through GRobertsJr-CA-000730.

  13.   Attached hereto as Exhibit 13 is a true and correct copy of medical record

        bates   stamped   GRobertsJr-AMG-000043        through     GRobertsJr-AMG-

        000047.

  14.   Attached hereto as Exhibit 14 is a true and correct copy of Ping Wang et al.,

        Diabetes mellitus and risk of hepatocellular carcinoma: a systematic review

        and meta-analysis, 28 Diabetes Metab. Res. Rev. 109 (2012).

  15.   Attached hereto as Exhibit 15 is a true and correct copy of Xuancheng Xie

        et al., Correlation analysis of metabolic characteristics and the risk of

        metabolic-associated fatty liver disease -related hepatocellular carcinoma,

        Scientific Reports (2022).



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  16.   Attached hereto as Exhibit 16 is a true and correct copy of Catherine

        Mezzacappa et al., HCC is associated with diabetes and longitudinal blood

        glucose control in a national cohort with cirrhosis, Hepatology Commc’ns.

        (2023).

  17.   Attached hereto as Exhibit 17 is a true and correct copy of a collection of

        medical records with bates stamp GRobertsJR-CA-000722; GRobertsJR-

        ESMS-000016-20;      GRobertsJR-ESMS-000051-56;            GRobertsJR-ESMS-

        000045-50; GRobertsJR-ESMS-00002-06; GRobertsJR-AMG-000032-35;

        GRobertsJR-AMG-000028-30; GRobertsJR-CA-000209-11.

  18.   Attached hereto as Exhibit 18 is a true and correct copy of Deposition

        Transcript of Darryle Bullard, M.D., dated Feb. 13, 2025.

  19.   Attached hereto as Exhibit 19 is a true and correct copy of Deposition

        Transcript of Donald B. Sanders, M.D., dated Oct. 8, 2021.

  20.   Attached hereto as Exhibit 20 is a true and correct copy of Marc-Andre

        Cornier et al., Assessing adiposity: a scientific statement from the American

        Heart Association, 124 Circulation 1996, 1997 (2011).

  21.   Attached hereto as Exhibit 21 is a true and correct copy of Baek Gyu Jun et

        al., Impact of overweight and obesity on the risk of hepatocellular

        carcinoma: a prospective cohort study in 14.3 million Koreans, 127 Brit. J.

        of Cancer 109 (2022).



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  22.   Attached hereto as Exhibit 22 is a true and correct copy of Yi Chen et al.,

        Excess body weight and the risk of primary liver cancer: An updated meta-

        analysis of prospective studies, 48 Eur. J. of Cancer 2137 (2012).

  23.   Attached hereto as Exhibit 23 is a true and correct copy of medical record

        bates stamped GRobertsJr-UABHIM-MD-000001 through GRobertsJr-

        UABHIM-MD-000010.

  24.   Attached hereto as Exhibit 24 is a true and correct copy of medical record

        bates stamped GRobertsJr-PPR-000106.

  25.   Attached hereto as Exhibit 25 is a true and correct copy of medical record

        bates stamped GRobertsJr-SouCC-000235 through GRobertsJr-SouCC-

        000238.

  26.   Attached hereto as Exhibit 26 is a true and correct copy of medical record

        bates stamped GRobertsJr-UABHIM-MD-000082 through GRobertsJr-

        UABHIM-MD-000090.

  27.   Attached hereto as Exhibit 27 is a true and correct copy of medical record

        bates stamped GRobertsJr-SouCC-000250 through GRobertsJr-SouCC-

        000251.

  28.   Attached hereto as Exhibit 28 is a true and correct copy of medical record

        bates stamped GRobertsJr-UABHIM-MD-000029 through GRobertsJr-

        UABHIM-MD-000037.



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  29.   Attached hereto as Exhibit 29 is a true and correct copy of medical record

        bates stamped GRobertsJr-PPR-000093 through GRobertsJr-PPR-000097.

  30.   Attached hereto as Exhibit 30 is a true and correct copy of Willy Gomm et

        al., N-Nitrosodimethylamine-Contaminated Valsartan and the Risk of

        Cancer, 118 Deutsches Arzteblatt Int’l 357, 360 (2021).

  31.   Attached hereto as Exhibit 31 is a true and correct copy of Imene Mansouri

        et al., N-Nitrosodimethylamine-Contaminated Valsartan and the Risk of

        Cancer: A Nationwide Study of 1.4 Million Valsartan Users, 11 J. of the

        Am. Heart Assoc. (2022).

  32.   Attached hereto as Exhibit 32 is a true and correct copy of Piyush Nathani

        et al., Hepatocellular carcinoma tumour volume doubling time: a systematic

        review and meta-analysis, 70 Gut 401 (2021).

  33.   Attached hereto as Exhibit 33 is a true and correct copy of Evelyn Calderon-

        Martinez et al., Prognostic Scores and Survival Rates by Etiology of

        Hepatocellular Carcinoma: A Review, 15 J. Clin. Med. Res. 200, 2023

        (2023).

  34.   Attached hereto as Exhibit 34 is a true and correct copy of Sangheun Lee et

        al., Subclassification of Barcelona Clinic Liver Cancer B and C

        hepatocellular carcinoma: a cohort study of the multicenter registry

        database, 31 J. of Gastroenterology & Hepatology 842 (2016).



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  35.   Attached hereto as Exhibit 35 is a true and correct copy of Richard Peto et

        al., Dose and time relationships for tumor induction in the liver and

        esophagus    of   4,080    inbred   rats   by   chronic     ingestion   of   N-

        nitrosodiethylamine or N-nitrosodimethylamine, 51 Cancer Research 6452

        (1991).

  36.   Attached hereto as Exhibit 36 is a true and correct copy of Giovanna

        Fattovich et al., Hepatocellular carcinoma in cirrhosis: incidence and risk

        factors, 127 Gastroenterology 35, 36 (2004).

  37.   Attached hereto as Exhibit 37 is a true and correct copy of Deposition

        Transcript of Samuel Hooks, dated Jan. 29, 2025.

  38.   Attached hereto as Exhibit 38 is a true and correct copy of Deposition

        Transcript of William Sawyer, dated May 1, 2025.

  39.   Attached hereto as Exhibit 39 is a true and correct copy of the Expert

        Report of Christopher Mele.

  40.   Attached hereto as Exhibit 40 is a true and correct copy of Deposition

        Transcript of Christopher Mele, dated May 8, 2025.

  41.   Attached hereto as Exhibit 41 is a true and correct copy of Dina Mansour &

        Stuart McPherson, Management of decompensated cirrhosis, 18 Clinical

        Medicine 60 (2018).

  42.   Attached hereto as Exhibit 42 is a true and correct copy of Amit G. Singal et



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        al., AASLD Practice Guidance on prevention, diagnosis, and treatment of

        hepatocellular carcinoma, 78 Hepatology 1922 (2023).

  43.   Attached hereto as Exhibit 43 is a true and correct copy of EASL [European

        Association for the Study of the Liver] Clinical Practice Guidelines on the

        management of hepatocellular carcinoma, 82 J. of Hepatology 315 (2025).

  44.   Attached hereto as Exhibit 44 is a true and correct copy of Yuri Cho et al.,

        Overview of Asian clinical practice guidelines for the management of

        hepatocellular carcinoma: An Asian perspective comparison, 29 Clinical &

        Molecular Hepatology 252 (2023).

  45.   Attached hereto as Exhibit 45 is a true and correct copy of Bonnie

        Bengtsson et al., The risk of hepatocellular carcinoma in cirrhosis differs by

        etiology, age and sex: A Swedish nationwide population-based cohort study,

        10 United European Gastroenterology J. 465 (2022).

  46.   Attached hereto as Exhibit 46 is a true and correct copy of Juan Vaz et al.,

        Unrecognized liver cirrhosis is common and associated with worse survival

        in hepatocellular carcinoma: A nationwide cohort study of 3473 patients,

        293 J. of Internal Med. 184 (2022).

  47.   Attached hereto as Exhibit 47 is a true and correct copy of Stuart

        McPherson et al., Simple non-invasive fibrosis scoring systems can reliably

        exclude advanced fibrosis in patients with non-alcoholic fatty liver disease,



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        59 Gut 1265 (2010).

  48.   Attached hereto as Exhibit 48 is a true and correct copy of Mohammad

        Shabab Siddiqui et al., Diagnostic Accuracy of Noninvasive Fibrosis Models

        to Detect Change in Fibrosis Stage, 17 Clinical Gastroenterology

        Hepatology 1877 (2019).

  49.   Attached hereto as Exhibit 49 is a true and correct copy of Fasiha Kanwal et

        al., Metabolic dysfunction—associated steatotic liver disease: Update and

        impact of new nomenclature on the American Association for the Study of

        Liver Diseases practice guidance on nonalcoholic fatty liver disease, 79

        Hepatology 1212 (2023).

  50.   Attached hereto as Exhibit 50 is a true and correct copy of Philip J. Johnson

        et. al, Progression of chronic liver disease to Hepatocellular (Liver)

        carcinoma: implications for surveillance and management, BJC Reps.

        (2024).

  51.   Attached hereto as Exhibit 51 is a true and correct copy of medical record

        bates stamped GRobertsJr-TH-MD-000938 through GRobertsJr-TH-MD-

        000955.

  52.   Attached hereto as Exhibit 52 is a true and correct copy of Rohit Loomba et

        al., AGA clinical practice update on screening and surveillance for

        hepatocellular carcinoma in patients with nonalcoholic fatty liver disease:



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        expert review, 158 Gastroenterology 1822 (2020).

  53.   Attached hereto as Exhibit 53 is a true and correct copy of Alessandro

        Mantovani & Giovanni Targher, Type 2 diabetes mellitus and risk of

        hepatocellular carcinoma: spotlight on nonalcoholic fatty liver disease. 5

        Ann. Transl. Med. (2017).

  54.   Attached hereto as Exhibit 54 is a true and correct copy of Carlo La Vecchia

        et al., Diabetes mellitus and the risk of primary liver cancer. 73 Int. J.

        Cancer 204, 205 (1997).

  55.   Attached hereto as Exhibit 55 is a true and correct copy of Wan-Shui Yang

        et al., The Role of Pre-Existing Diabetes Mellitus on Hepatocellular

        Carcinoma Occurrence and Prognosis: A Meta-Analysis of Prospective

        Cohort Studies, 6 PLoS One (2011).

  56.   Attached hereto as Exhibit 56 is a true and correct copy of Beicheng Sun &

        Michael Karin, Obesity, inflammation, and liver cancer, 56 J. of Hepatology

        704 (2012).

  57.   Attached hereto as Exhibit 57 is a true and correct copy of W-P Koh et al.,

        Diabetes mellitus and risk of hepatocellular carcinoma: findings from the

        Singapore Chinese Health Study, 108 British J. of Cancer 1182 (2013).

  58.   Attached hereto as Exhibit 58 is a true and correct copy of S. Schlesinger et

        al., Diabetes mellitus, insulin treatment, diabetes duration, and risk of



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        biliary tract cancer and hepatocellular carcinoma in a European court, 24

        Annals of Oncology 2449 (2013).

  59.   Attached hereto as Exhibit 59 is a true and correct copy of Qingyan Kong et

        al., Impact of Metabolic Dysfunction-Associated Fatty/Steatotic Liver

        Disease on Hepatocellular Carcinoma Incidence and Long-Term Prognosis

        Post-Liver Resection: A Systematic Review and Meta-Analysis, Academic

        Radiology (2025).

        I certify under penalty of perjury that the foregoing is true and correct.

  Dated: May 22, 2025                         Respectfully submitted,

                                              /s/ Nina R. Rose
                                              Nina R. Rose (pro hac vice)
                                              KIRKLAND & ELLIS LLP
                                              1301 Pennsylvania Avenue
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                                              Huahai Pharmaceutical Co., Ltd., Solco
                                              Healthcare U.S., LLC, and Prinston
                                              Pharmaceutical Inc.




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 22, 2025, a true and correct copy of the

  foregoing document was served upon counsel of record via operation of the

  Court’s electronic filing system.


  Dated: May 22, 2025                      Respectfully submitted,

                                           /s/ Nina R. Rose
                                           Nina R. Rose (pro hac vice)
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                                           Pharmaceutical Inc.




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